Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 1 of 48 PageID 667




                           PX 4
                   Declaration of Lynne Colbert




                                                                 FTC-000481
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 2 of 48 PageID 668




                            DECLARATION OF LYNNE COLBERT
        1.      My name is Lynne Colbert. I am a United States citizen over the age of 18. I am
employed by the Federal Trade Commission ("FTC") as Supervisory Investigator in the Division
 of Advertising Practices of the Bureau of Consumer Protection. I have held that position since
2008, and I have been employed by the FTC (as a paralegal, then investigator) since 1987. My
 business address is 600 Pennsylvania Avenue, N.W., CC-10258, Washington, DC 20580. I have
 personal knowledge of the facts stated herein. If called to testify I could and would testify
 competently to the facts set forth below.
        2.      As part of my job, I perform various research and investigative tasks. I have been
 assigned to the FTC's investigation ofRoca Labs, Inc., Roca Labs Nutraceutical USA, Inc., Don
Juravin, and George Whiting (collectively, "Defendants"). To find out about the Defendants, I
 gathered information from various sources, including the following:
    •   Consumer complaints found in the FTC's Consumer Sentinel database and provided by
        the Better Business Bureau of West Florida;
    •   Records available from state and federal courts, the U.S. Patent and Trademark Office
        and from CLEAR, an investigative research platform offered by Thomson Reuters that
        provides information about persons or businesses from proprietary sources and public
        records; and
    •   Responses to FTC Civil Investigative Demands issued pursuant to Section 20 of the
        Federal Trade Commission Act, 15 U.S.C. § 57b-l.
 According to the records available from a Westlaw online database, Don Juravin has gone by the
 names "Don Adi Juravin," "Adi Juravin," and "Don Karl Juravin." I will refer to him as "Don
Juravin" throughout this declaration.
                                      Consumer Complaints
        3.      The Consumer Sentinel Network ("Consumer Sentinel") is a secure online
database of millions of consumer complaints available only to law enforcement. Law
 enforcement users (including FTC users) can access complaint records, including those relating
 to weight loss products. In addition to storing complaints received by the FTC, Consumer


                                             Page 1 of 14

                                                                                        FTC-000482
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 3 of 48 PageID 669




Sentinel also includes complaints filed with numerous state law enforcement organizations.
Federal agencies, including the Consumer Financial Protection Bureau and the FBI's Internet
Crime Complaint Center, contribute data. Non-governmental organizations also provide
complaint data to the FTC. The Council of Better Business Bureaus, consisting of all North
American BBBs, is a major contributor of complaint data. The complaints are received via
online forms, telephone, and mail. More information about Consumer Sentinel is available in the
FTC's "Consumer Sentinel Data Book for January to December 2014 (published February
20 15), available at https://www.ftc.gov/system/files/documents/reports/consumer-sentinel-
network-data-book-january-december-20 14/sentinel-cy20 14-1 .pdf
       ' 4.     I have searched Consumer Sentinel for complaints related to "Roca Labs." I
found more than 75 consumer complaints about Roca Labs entered from October 2012 through
August 2015. The FTC received more than twenty-five additional complaints and
correspondence directly from the Better Business Bureau of West Florida. More than twenty of
the consumer complaint files I reviewed include references to Roca Labs legal threats against the
consumers, or to a prohibition on making negative comments about Roca Labs or its products.
Several consumers expressed fear about filing their complaints:
   •     "Im [sic] filing this complaint in distress for fear that a lawsuit may be filed against me
         for filing a complaint."
   •     "FIRST OFF I AM VERY SCARED TO FILE THIS ...THEY HAVE THREATENED
         ME THAT IF I REPORT THEM THEY WILL SUE ME FOR DEFAMING THEIR
         COMPANY. SO PLEASE DON'T TELL THEM MY NAME. I AM VERY SCARED."
   •     "People are not even aloud [sic] to talk bad about their company because they threaten
         you. I have te [sic] email to prove this. I am very scared to even give my real name in

         fear of what they will do."
         5.     FTC staff has contacted complaining consumers, including consumers whose
complaints refer to Roca Labs legal threats. I participated in a phone call with one such
consumer who declined to provide a declaration discussing his experience for use in this case out
of concern that Roca Labs might take legal action against him. I have also reviewed three other


                                             Page 2 of14

                                                                                         FTC-000483
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 4 of 48 PageID 670




 email messages from complaining consumers stating that they were unwilling to speak with FTC
 staff. One consumer specifically cited Roca Labs' threats and lawsuits, and another cites the
 Roca Labs "privacy policy," as a basis for declining.
                                         USPTO Documents
        6.      I obtained the following documents and information from the U.S. Patent and
Trademark Office ("PTO") via its online databases, Trademark Electronic Search System and
 Trademark Status and Document Retrieval System, which are publicly available through
www.uspto.gov:
    •   Att. A hereto, a specimen of use that Roca Labs, Inc. filed with the PTO on September 9,
        2011 with application serial number 85418359 to register the trademark ROCA LABS for
        "food supplements for weight loss." The specimen shows the company name as "ROCA
        LABS USA" at the top (with the word "Nutraceuticals") and in the copyright notice.
    •   The PTO database shows that the mark ROCA LABS was issued registration number
        4,145,897. The correspondence name and signatory on a December 9, 2013 Power of
        Attorney for that registration (Att. B hereto, personal information redacted) is Don

        Juravin. The document lists his title as "Director of Marketing," the contact address as
        PO Box 5309, Sarasota, Florida 34277, and the contact email address as
        "Don@RocaLabs.com." The mark and registration are currently owned by Roca Labs,

        Inc.
    •   Att. C hereto, a specimen of use that Roca Labs, Inc. filed with the PTO on September 9,
        2011 with application serial number 85418359 to register the trademark GASTRIC
        BYPASS NO SURGERY for "food supplements for weight loss." The specimen shows
        the company name as "ROCA LABS USA" at the top (with the word "Nutraceuticals")
        and in the copyright notice.
    •   The mark GASTRIC BYPASS NO SURGERY was issued registration number
        4,138,635. The correspondence name and signatory on a December 9, 2013 Power of
        Attorney (Att. D hereto, personal information redacted) for that registration is Don
        Juravin. The document lists his title as "Director ofMarketing," the contact address as


                                           Page 3 of14

                                                                                      FTC-000484
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 5 of 48 PageID 671




        PO Box 5309, Sarasota, Florida 34277, and the contact email address as
        "Don@RocaLabs.com." As ofDecember 31, 2014, this mark and registration are owned
        by Juravin Incorporated, with the address PO Box 5247, Sarasota, Florida 34242 and
        contact email IP@juravin.com.

    •   Att. E hereto, a Trademark Assignment Cover Sheet and signed Assignment of
        Trademarks dated December 31,2014, signed by "Dr. George C. Whiting" for Roca
        Labs, Inc., and by "Don Karl Juravin" for Juravin Incorporated. This assignment lists

        nine trademarks and registrations that were assigned from Roca Labs, Inc. to Juravin
        Incorporated.
                                  Florida State Court Documents

        7.      I ordered and obtained the following documents from the Circuit Court of the
 Twelfth Judicial Circuit in and for Sarasota County, Florida, Civil Division, in Zero Calorie
 Labs, Inc., Roca Labs, Inc., and Don Juravin, v. Jodie Barnes and John Hagerman, CA-2012-
 9111NC:

    •   Amended Complaint for Damages, Injunctive Relief and Demand for Trial By Jury (Feb.
        4, 2013) ("AC"), pages 1, 2, and Exhibit A of which are included, with personal address
        information redacted, as Att. F hereto; and
    •   Plaintiff's Verified Emergency Motion for Ex Parte Temporary Injunction, Injunction of
        Protection and Supporting Memorandum ofLaw (Nov. 13, 2012) ("VEM"), pages 1, 2, 8,
        and 1-4 of Exhibit A of which are included, with personal address information redacted,
        as Att. G hereto.
        8.     The "Amended Complaint" states that Zero Calorie Labs, Inc. is a Florida
corporation, (AC ~2) and that "ZERO CALORIE LABS is a human resources company that,
inter alia, hires independent contractors with various skills and abilities to work for its clients,
including ROCA LABS." (AC ~8). It further states that it assigned Ms. Barnes, the defendant in
that case, to work for Roca Labs and Don Juravin's family. (AC ~9).
        9.     The "Verified Emergency Motion" states: "Don Juravin is a resident of Sarasota
County, is a marketing consultant working for [Zero Calorie Labs, Inc. and "Roca Labs, Inc.]


                                            Page 4 of14

                                                                                          FTC-000485
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 6 of 48 PageID 672




 and is not a shareholder of either" corporation. (VEM ~2). It states that he acted as a
 "representative of' those corporations for the purpose of retaining the services of Ms. Barnes.
 (VEM ~4) The document includes a sworn verification signed by Don Juravin, and lists a
 Sarasota, Florida address (the "Juravin Sarasota residence"). (VEM, page 8). The document
 (VEM ~5) states that "Exhibit A" shows an email from Ms. Barnes to Mr. Juravin, and "Exhibit
 A" shows that Ms. Barnes emailed him on November 6, 2012 at the address "v555@mac.com."
 (VEM-Exhibit A)
          10.    I also reviewed the "First Amended Complaint," with exhibits, in Juravin v. Todd,
 Case No. 12-CA-05327, filed July 2, 2012 in the Circuit Court of the     13th   Judicial Circuit in and
for Hillsborough County, Florida, that my colleague, Bonnie McGregor, ordered and obtained
from the clerk's office of that court (redacted version is McGregor Declaration, Att. C).
 According to that filing, Don Juravin leased and occupied a residence in Tampa, Florida from
May 2009 through about March 2012 ("Juravin Tampa residence").
                                California Class Action Court Filing
          11.    I requested that the staff of the FTC's Western Region, Los Angeles office order
and obtain from the Superior Court of the State of California, County of Los Angeles, in Zachary
Lake v. Roca Labs, Inc., Roca Labs Nutraceutical USA, Inc., and Does 1 through 10, Case No.

BC 559016, the "Declaration of Don Juravin in Support of Motion to Stay or, in the Alternative,
to Transfer Action," dated March 12, 2015 (Att. H hereto). In this Declaration, Mr. Juravin
states:
    •     "I am an authorized representative of Defendants ROCA LABS, INC., A Florida
          Corporation, and ROCA LABS, NUTRACEUTICAL USA, INC., A Florida Corporation
          and involved in the day to day operations of both Defendants." (Paragraph 1); and
    •     "The weight loss product(s) alleged to be 'The Formula' in the complaint is sold only via
          the internet, online sales, through a website." (Paragraph 5)
                                     Name.com CID Responses
          12.    I examined documents Name.com, Inc., a domain name registrar which offers
private registration services, produced in response to a Commission CID. The Name.com


                                             Page 5 of14

                                                                                            FTC-000486
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 7 of 48 PageID 673




 documents (Att. I and J hereto are redacted excerpts of domain name transaction information
 for account names "dietlabs" and "rocalabs," respectively) include the following information:


     Date        Account     Account              Pay Info              Domains
                             Info/email
     2/4/08      dietlabs    Jabotinsky 7         Teddy Juravin ,
                             FL53,                PO Box 4097
                             RamatGan,            Ramat Gan, Israel
                             Israel
                             usaS@mac.com
     4/9/09      dietlabs    Rocach Labs,         Diet Labs             rocalabs.com
                             Jabotinsky 7         Jabotinsky 7 FL53,    juravin.com
                             FL53,                Zuckerman, Ramat
                             Zuckerman,           Gan, Israel
                             RamatGan,            Palpal:
                             Israel               v555@mac.com
                             usa8@mac.com
     12/20/09    rocalabs    Roca Labs,           Paypal:               zerocalorielabs.com
                             po box 262644        v555@mac.com
                             Tampa, Fl 33685
                             V888@mac.com
     2/6/10      dietlabs    Rocach Labs,         Diet Labs             rocalabs.com
                             Jabotinsky 7         Jabotinsky 7 FL53,    JUravm.com
                             FL53                 Zuckerman, Ramat
                             Ramat Gan,           Gan, Israel
                             Israel               Palpal:
                             usaS@mac.com         v555@mac.com
     1/14/11     rocalabs    V888@mac.com                               mini-gastric-
                                                                        bypass.me
     2/4111      dietlabs                         Paypal:               israelilabs.com
                                                  V888@mac.com
     4/2/11      rocalabs    V888@mac.com                              juravin.com
     6/22/11     rocalabs    V888@mac.com        Roca Labs             rocalabs4obesity.co
                                                 Juravin Tampa         m·,
                                                 residence address     rocalabs4 kids .com
     9/1/11      rocalabs    V888@)mac.com                             ross-finesmith.info
     1/30/12     dietlabs                        Roca Labs,            israelilabs.com
                                                 Juravin Tampa
                                                 residence address
     3/30112     rocalabs    Roca Labs           Don Juravin            gastricbypass.me
                             po box 262644       Juravin Tampa
                             Tampa, Fl, 33685    residence address
                             V888@mac.com
     10/9112     rocalabs    V888@mac.com        Don Juravin            mini-gastric-

                                          Page 6 of 14

                                                                                        FTC-000487
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 8 of 48 PageID 674




                                                     Juravin Sarasota       bypass.me
                                                     residence address
     12/1 6112        rocalabs   V888@mac.com        Don Juravin            rocalabs.com
                                                     Juravin Sarasota
                                                     residence address
     7/10/14          rocalabs   RocaLabs                                   rocalabs.com,
                                 PO Box 5309                                gastricbypass.me,
                                 Sarasota, Florida                          and mini-gastric-
                                 34277                                      bypass.me
                                 Don@RocaLabs
                                 .com
As of January 30, 2015, numerous domain names were registered through the Name.com account
"Rocalabs," to registrant "JURAVIN Incorporated," located at "pobox 5309" in Sarasota,
Florida 34277, with the registrant email Site@Juravin.com (Att. K hereto, redacted Name.com
domain name registration list). These domain names include:
                  o    rocalabs.com;
                  o    mini-gastric-bypass.me;
                  o    gastricbypass.me;
                  o    gastric-bypass-alternative.com;
                  o    gastricbypassnosurgery.com; and
                  o JUravm.com
                                 Bank of America, N.A. CID Responses

       13 .      I examined documents Bank of America, N.A. ("BOA") produced in response to
a Commission CID. The BOA documents, redacted excerpts of which are attached as Att. L
hereto, show that:
       (a) On or about October 2, 2009, Don Juravin opened a BOA checking account for Roca
              Labs, Inc. , using the title "Vice President," and executed a corporate signature card

              for an account number ending 3550. Don Juravin' s signature card appears to be the
              only one for this account. Statements from January 2011 through February 2013 for
              this account were addressed to Roca Labs, Inc. at the Juravin Tampa residence, and
              then the Juravin Sarasota residence.




                                              Page 7 of14

                                                                                          FTC-000488
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 9 of 48 PageID 675




      (b) Statements from 2011 for two other Roca Labs, Inc. accounts with BOA, ending in

         8849 and 8852, were addressed to Roca Labs, Inc. at the Juravin Tampa residence.
      (c) On or about December 31, 2009, Don Juravin and George Whiting opened a BOA

         checking account for Zero Calorie Labs, Inc., and Don Juravin executed a corporate
         signature card, for an account number ending 3195. Statements from January 20 11

         through November 2012 are addressed to Zero Calorie Labs, Inc. at 12157 W

         Linebaugh Ave, Suite 103, Tampa, FL 33626-1732. I believe, based on research I did
         using Google, that this address is for a UPS Store. Statements from December 2012

         through February 2013 for this account were addressed to Zero Calorie Labs, Inc. at
         the Juravin Sarasota residence.

      (d) Statements for Zero Calorie Labs for the account ending 3195 show payments to
         Google Inc. of approximately $625,000 between February 2012 and January 2013.

      (e) On or about March 31, 2014 Don Juravin opened a BOA checking account for Roca

         Labs Nutraceutical USA, Inc. , using the title "President," and executed a corporate
         signature card for an account number ending 5888. Don Juravin's signature card

         appears to be the only one for this account. Statements from March 2014 through

         February 2015 for this account are addressed to Roca Labs Nutraceutical USA, Inc. at
         the Juravin Sarasota residence.
      (f) On or about March 31,2014, Don Juravin opened a BOA checking account for
         Juravin, Incorporated, using the title "President," and executed a corporate signature

         card for an account number ending 5833. Don Juravin's signature card appears to be

         the only one for this account. Statements from March 2014 through December 2014
         for this account are addressed to Juravin, Incorporated at the Juravin Sarasota
         residence.

      (g) On or about May 5, 2014, Don Juravin and George Whiting opened a BOA checking

         account for Roca Labs, Inc. , using the titles "Authorized Signer" and
         "Pres/Sec/Treas/Dir," respectively, and executed a corporate signature card for an




                                           Page 8 of14

                                                                                    FTC-000489
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 10 of 48 PageID 676




              account number ending 3799. The only statement BOA produced for that account,
              for May 2014, was addressed to the company at a St. Petersburg, FL address.
        (h) On or about May 2, 2014, George Whiting opened a BOA checking account for Roca
              Labs, Inc., using the title "President," and executed a corporate signature card for an
              account number ending 8407. The only statement BOA produced, for May 2014, was
              addressed to the company at a St. Petersburg, FL address.
                            American Express Company CID Responses

        14.      I examined documents American Express Company produced in response to a
 Commission CID. The American Express documents, redacted excerpts of which are attached as
 Att. M hereto, show that:
        (a) A "Merchant Processing Application" submitted to iPayment, for Roca Labs
              Nutraceutical USA, bearing the date February 28, 2014, lists Don Juravin as the
              contact, signer, and 100 percent owner. The business address listed is 7621A S.
              Tamiami Trail, Sarasota, Florida 34277, and the contact email address is
              "don@rocalabs.com. The address listed for Don Juravin is the Juravin Sarasota
              residence. The application information states that the company's business website is
              www.rocalabs.com, and that it had been in business for 15 years. It further states that
              company sales are 100 percent mail order, and 100 percent "B-2-C." It states that
              "[m]onthly volumes range from $450,000- 800,000."
        (b) Don Juravin is identified as a cardholder for an American Express corporate account
              ending 006 for Roca Labs, a corporate account ending 009 for "Roca Labs," and a
              corporate account ending 002 for "Juravin."
        (c) Statements for American Express corporate account ending 006 for "Roca Labs"
              during the period March 2013 through January 2015 were addressed to the Juravin
              Sarasota residence. More than $3.25 million for Google, Microsoft, and Facebook
              advertising was charged to the 006 account during this period.
        (d) Statements for American Express corporate account ending 009 for "Roca Labs"
              during the period February 2014 through January 2015 were addressed to the Juravin


                                             Page 9 of 14

                                                                                         FTC-000490
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 11 of 48 PageID 677




               Sarasota residence. Approximately $91,000 for Facebook advertising was charged to
               the 009 account during this period.
        (e) Statements for an American Express corporate account ending 002 for "Juravin"
               during the period February 2014 through January 2015 were addressed to the Juravin
               Sarasota residence. More than $1.5 million for Google, Microsoft, Yahoo, and
               Facebook advertising was charged to the 002 account during this period.
                                               Visa, Inc.

        15 .      I examined documents Visa, Inc. produced in response to a Commission CID.
 The Visa documents, redacted excerpts of which are attached as Att. N hereto, show that:
        (a) between June and September 2014, more than $50,000 in sales were posted for
               merchant descriptor "ROCA LABS INC" in Florida, 866-566-5288; and
        (b) between June and December 2014, more than $1.35 million in sales were posted for
               merchant descriptor "ROCA LABS NUTRACEUTICAL" in Florida, 866-566-5288.
                                           MasterCard Inc.

        16.       I examined documents MasterCard Inc. produced in response to a Commission
 CID. The MasterCard documents, redacted excerpts of which are attached as Att. 0 hereto,
 show that:
        (a) between June and December 2014, more than $670,000 in sales were posted for
               merchant descriptor "ROCA LABS NUTRACEUTICA" in Florida, 7261A S
               Tamiami, ZIP code 34231, "08665665288";
        (b) the merchant street address for "ROCA LABS USA," merchant number
               174030075991, is listed as 7700 Eastport Parkway, Florida, ZIP code 33685,
               8665665288 for the period August 2012 through July 2013; and
        (c) the merchant street address for "ROCA LABS," merchant number 174030075991, is
               listed as 7700 Eastport Parkway, Florida, ZIP code 33685, 8665665288 for the period
               February 2011 through November 2012.




                                             Page 10 of 14

                                                                                         FTC-000491
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 12 of 48 PageID 678




                             First Data Corporation CID Responses

        17.     I examined documents First Data Corporation produced in response to a
 Commission CID. The First Data documents, redacted excerpts of which are attached as Att. P-
 T hereto, show that:
    (a) A printout of information for ROCA LABS INC, merchant number
        000510165900400383, bearing a "Keyed Dt" of " 01-DEC-2009" (Att. P hereto
        [FD000563]) includes a "Comments" field that lists that business's address as 12000
        North Dale Mabry, Tampa, FL 33618. The business phone number, ending 0838,
        matches one associated with Don Juravin's 2009 personal information that I obtained
        from CLEAR. The "Comments" entry also lists Don Juravin as a contact, at the Juravin
        Tampa residence address, and provides a different personal phone number, ending 0099,
        ofDon Juravin.
    (b) An "Outlook Profile Report" for ROCA LABS INC, merchant number
        142510165900400383 (Att. P hereto [FD000561]), lists the business address as P.O. Box
        262644, Tampa, FL: 33685-2644. The phone number, ending 0838, matches one
        associated with Don Juravin's personal information I obtained from CLEAR. The "Legal
        Name Email" is "V555@MAC.COM."
    (c) A "Merchant Processing Application and Agreement" (Att. Q hereto) was submitted on
        or about December 27, 2012 to First Data for "Roca Labs Inc." with a business address in
        Tampa, FL 33626 (not the Juravin Tampa Residence). Don Juravin is listed as the
        contact name, and the contact email address is "v555@mac.com." The merchandise sold
        is listed as "Vitamins and Supplements." It lists Don Juravin as "Vice President" of the
        company, with 10 percent ownership, and gives his home address as the Juravin Sarasota
        residence address. The application document further states that the company's gross
        yearly sales volume is $4 million, that ninety-five percent of its sales are transacted over
        the internet, with the remainder transacted by phone.

    (d) A July 31, 2013 letter from Roca Labs, Inc. to First Data (Att. R hereto), "signed
        electronically" by "G.C. WHITING," "President," states that the company had:


                                           Page 11 of 14

                                                                                        FTC-000492
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 13 of 48 PageID 679




           o   2010 sales of$732,195;
           o   2011 sales of$3,861,761; and
           o   2012 sales of$4,413,363
           o   The phone number shown on the letterhead matches a phone number associated
               with both George Whiting' s personal information and information about Zero
               Calorie Labs, Inc. that I obtained from CLEAR.
    (e) A "Merchant Financial Activity Report" (Att. S hereto) for "Roca Labs Inc," Merchant
       000510165900401035, includes a "TOT Sales Amt" column that lists amounts exceeding
       $6.99 million total for the months January 2013 through December 2013, and amounts
       exceeding $3.7 million total for the months January 2014 through May 2014. First Data
       provided this document in response to CID Interrogatory that sought, in pertinent part,
       the total monthly dollar amount of transactions and refunds First Data processed for Roc a
       Labs, Inc.
    (f) In numerous instances, Roca Labs, Inc. communicated with First Data via "Chargeback
       Response Forms" (that include a phone number, ending 0055, associated with Don
       Juravin' s personal information that I obtained from CLEAR), or letters bearing the email
       address "LegalTeam@RocaLabs.com" about credit card chargebacks its customers had
       initiated via their credit card issuing banks. Examples of such communications are
       attached as Att. Thereto. Through such communications, Roca Labs, Inc. indicated in
       numerous instances in 2013 and 2014 that:
           o   the customer had agreed to the "Terms & Conditions" or "Personal Terms,
               Conditions, & Disclaimers Agreement," "USV1.8 Sep 2012" (e.g., Att. T
               [FD008701-11]); and
           o   the customer had completed "a Qualification Form and provided personal and
               medical information," such as height, weight, age, sex, and "Declarations" (e.g.,
               Att. T [FD008712]).

    (g) Through such communications, Roca Labs, Inc. disclosed to First Data the height,

       weight, age, and sex, as entered in the Qualification Forms, of customers who had


                                          Page 12 of14

                                                                                     FTC-000493
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 14 of 48 PageID 680




       initiated chargebacks, and included statements from the "Declarations" provided by each.
       Examples ofthese Declaration statements included:

          o "Because I really think its time to change, and I want to look better and be
            confident with myself. Knowing that I could just go to the store and pick out
            something to wear without going to fitting room" (Att. T[FD008712])

          o "I dont want to be obese and overweight like the long history of members in my
            family. I dont want the health problems to become an possibility for me. I want
            to be able to enjoy my kids and live a long and healthy life. I will fight for
            success and am determined to succeed." (Att. T [FD020141])

          o "I want to change my live and feel great and have more energy and feel pretty
            again." (Att. T [FD011481])

          o "Yes, I look like crap!! even when I try to look nice, I need to look good on the
            outside, to match my drive on the inside" (Att. T [FD011541])

          o "The additional weight is effecting my mobility" (Att. T [FD020273])

          o "Yes, I want to be here for my son. I want to live." (Att. T [FD011430])

          o "I am. I know the health issues being overweight can bring. My grandparents
            were diabetics and overweight. I do exercise 5 days a week and do not see much
            results. I also want to be a better role model for my daughters" (Att. T
            [FD023161])

          o "I am 100% committed to loosing [sic] weight. I turned 35 on Monday and this is
            not where I wanted to be physically at 35. I have begun drinking water and have
            completely stopped drinking soda and caffeine products. I have changed some of
            my worst habit prior to applying for your program and it has been four months
            since I made the changes and I do feel better. I have not had willpower problems
            with these changes which has proven to me that I am committed and want this
            change badly. I have a husband that I want to be beautiful for again and two
            daughters who deserve a morn who can play and keep up with them. I want your
            help badly and I will not disappoint you. Please approve my application." (Att. T
            [FD008975])

          o   "yes!! I don' t like myself anymore, If I don't how do I expect others to." (Att. T
              [FD024332])

          o   "Because I want to feel good and stop being sick and tired." (Att. T [FD024442])

          o "Yes as this weight is taking potentially fatal toll on my life" (Att. T
            [FD019595])

                                         Page 13 of 14

                                                                                       FTC-000494
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 15 of 48 PageID 681




        18.       In addition to the foregoing research and document reviews, I also researched the
 prices of several dietary supplements on online retail sites. I found:
              •   100 575 mg glucomannan capsules sold through Drugstore.com for $11.99;
              •   100 665 mg glucomannan capsules sold through Drugstore.com for $9.99;
              •   8 ounces of guar gum powder sold through Amazon.com for $6.19;
              •   60 400 mg guar gum capsules sold through Amazon.com for $2.99; and
              •   90 100 mg beta glucan capsules sold through Amazon.com for $9.79.



        I declare under penalty of perjury that the foregoing is true and correct.



 Executed on ¥ · 2015


 By   11M4).f., tteJe;;L




                                            Page 14 of 14

                                                                                       FTC-000495
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 16 of 48 PageID 682



 Attachments
       Attachment A




                                                                  FTC-000496
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 17 of 48 PageID 683




                                                                  FTC-000497
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 18 of 48 PageID 684



 Attachments
       Attachment B




                                                                  FTC-000498
 Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 19 of 48 PageID 685


PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 9/30/2017)


            Revocation of Attorney/Domestic Representative and/or
              Appointment of Attorney/Domestic Representative


                                    The table below presents the data as entered.

                             Input Field                                Entered
         SERIAL NUMBER                             85418359
         REGISTRATION NUMBER                       4145897
         LAW OFFICE ASSIGNED                       LAW OFFICE 102
         MARK SECTION
         MARK                                      ROCA LABS
         ATTORNEY SECTION
                                                   D. MICHAEL SCHLOSS, ESQ.
                                                   1844 N NOB HILL RD # 303
                                                   PLANTATION Florida (FL) 33322-6548
         ORIGINAL ADDRESS                          US
                                                   954-554-1751
                                                   954-756-7228
                                                   michael@dmichaelschloss.com
                                                   By submission of this request, the undersigned
         STATEMENT TEXT                            REVOKES the power of attorney currently of record,
                                                   as listed above.
         NEW CORRESPONDENCE ADDRESS
         NAME                                      Don Juravin
         STREET                                    PO Box 5309
         CITY                                      Sarasota
         STATE                                     Florida
         COUNTRY                                   United States
         POSTAL/ZIP CODE                           34277
                                                   REDACTED
         PHONE                                                -0055
         EMAIL                                     Don@RocaLabs.com;Don@RocaLabs.com
         AUTHORIZED TO COMMUNICATE
         VIA E-MAIL
                                                   YES


                                                                                            FTC-000499
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 20 of 48 PageID 686


   SIGNATURE SECTION
   SIGNATURE                    /Don Juravin/
   SIGNATORY NAME               Don Juravin
   SIGNATORY DATE               12/09/2013
   SIGNATORY POSITION           Director of Marketing
                                REDACTED
   SIGNATORY PHONE NUMBER                  0055
   FILING INFORMATION SECTION
   SUBMIT DATE                  Mon Dec 09 16:34:32 EST 2013
                                USPTO/RAA-99.43.22.160-20
                                131209163432860977-854183
   TEAS STAMP
                                59-5009d30df4f5b6d797d4cd
                                feabdb8eb8660147aafd5eeb4
                                7481842167d03ea598f0-N/A-
                                N/A-20131209161346884201




                                                                  FTC-000500
 Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 21 of 48 PageID 687

PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 9/30/2017)




            Revocation of Attorney/Domestic Representative and/or
              Appointment of Attorney/Domestic Representative
To the Commissioner for Trademarks:
MARK: ROCA LABS
SERIAL NUMBER: 85418359
REGISTRATION NUMBER: 4145897

The original attorney
D. MICHAEL SCHLOSS, ESQ.
1844 N NOB HILL RD # 303
PLANTATION Florida 33322-6548
US
954-554-1751
954-756-7228
michael@dmichaelschloss.com

By submission of this request, the undersigned REVOKES the power of attorney currently of record, as
listed above.

Original Correspondence Address :
D. MICHAEL SCHLOSS, ESQ.
1844 N NOB HILL RD # 303
PLANTATION Florida 33322-6548
US
954-554-1751
954-756-7228
michael@dmichaelschloss.com

The following is to be used as the correspondence address:
Don Juravin
PO Box 5309
Sarasota, Florida 34277
United States

REDACTED
     -0055
Don@RocaLabs.com;Don@RocaLabs.com



Signature: /Don Juravin/     Date: 12/09/2013
Signatory's Name: Don Juravin
Signatory's Position: Director of Marketing
Signatory's Phone Number: REDACTED 0055


                                                                                     FTC-000501
 Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 22 of 48 PageID 688

Serial Number: 85418359
Internet Transmission Date: Mon Dec 09 16:34:32 EST 2013
TEAS Stamp: USPTO/RAA-99.43.22.160-20131209163432860
977-85418359-5009d30df4f5b6d797d4cdfeabd
b8eb8660147aafd5eeb47481842167d03ea598f0
-N/A-N/A-20131209161346884201




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Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 23 of 48 PageID 689



 Attachments
       Attachment C




                                                                  FTC-000503
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 24 of 48 PageID 690




                                                                  FTC-000504
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 25 of 48 PageID 691



 Attachments
       Attachment D




                                                                  FTC-000505
 Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 26 of 48 PageID 692


PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 9/30/2017)


            Revocation of Attorney/Domestic Representative and/or
              Appointment of Attorney/Domestic Representative


                                    The table below presents the data as entered.

                             Input Field                                Entered
         SERIAL NUMBER                             85418376
         REGISTRATION NUMBER                       4138635
         LAW OFFICE ASSIGNED                       LAW OFFICE 102
         MARK SECTION
         MARK                                      GASTRIC BYPASS NO SURGERY
         ATTORNEY SECTION


                                                   PO BOX 20631
                                                   TAMPA Florida (FL) 33622
         ORIGINAL ADDRESS                          US
                                                   954-554-1751
                                                   954-756-7228
                                                   michael@dmichaelschloss.com
                                                   By submission of this request, the undersigned
         STATEMENT TEXT                            REVOKES the power of attorney currently of record,
                                                   as listed above.
         NEW CORRESPONDENCE ADDRESS
         NAME                                      Don Juravin
         STREET                                    PO Box 5309
         CITY                                      Sarasota
         STATE                                     Florida
         COUNTRY                                   United States
         POSTAL/ZIP CODE                           34277
                                                   REDACTED
         PHONE                                                -0055
         EMAIL                                     Don@RocaLabs.com;Don@RocaLabs.com
         AUTHORIZED TO COMMUNICATE
         VIA E-MAIL
                                                   YES


                                                                                            FTC-000506
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 27 of 48 PageID 693


   SIGNATURE SECTION
   SIGNATURE                    /Don Juravin/
   SIGNATORY NAME               Don Juravin
   SIGNATORY DATE               12/09/2013
   SIGNATORY POSITION           Director of Marketing
                                REDACTED
   SIGNATORY PHONE NUMBER                  0055
   FILING INFORMATION SECTION
   SUBMIT DATE                  Mon Dec 09 16:34:32 EST 2013
                                USPTO/RAA-99.43.22.160-20
                                131209163432860977-854183
   TEAS STAMP
                                59-5009d30df4f5b6d797d4cd
                                feabdb8eb8660147aafd5eeb4
                                7481842167d03ea598f0-N/A-
                                N/A-20131209161346884201




                                                                  FTC-000507
 Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 28 of 48 PageID 694

PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 9/30/2017)




            Revocation of Attorney/Domestic Representative and/or
              Appointment of Attorney/Domestic Representative
To the Commissioner for Trademarks:
MARK: GASTRIC BYPASS NO SURGERY
SERIAL NUMBER: 85418376
REGISTRATION NUMBER: 4138635

The original attorney

PO BOX 20631
TAMPA Florida 33622
US
954-554-1751
954-756-7228
michael@dmichaelschloss.com

By submission of this request, the undersigned REVOKES the power of attorney currently of record, as
listed above.

Original Correspondence Address :

ROCA LABS INC
PO BOX 20631
TAMPA Florida 33622
US
954-554-1751
954-756-7228
michael@dmichaelschloss.com

The following is to be used as the correspondence address:
Don Juravin
PO Box 5309
Sarasota, Florida 34277
United States

REDACTED
     -0055
Don@RocaLabs.com;Don@RocaLabs.com



Signature: /Don Juravin/     Date: 12/09/2013
Signatory's Name: Don Juravin
Signatory's Position: Director of Marketing
Signatory's Phone Number: REDACTED 0055

                                                                                     FTC-000508
 Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 29 of 48 PageID 695


Serial Number: 85418376
Internet Transmission Date: Mon Dec 09 16:34:32 EST 2013
TEAS Stamp: USPTO/RAA-99.43.22.160-20131209163432860
977-85418359-5009d30df4f5b6d797d4cdfeabd
b8eb8660147aafd5eeb47481842167d03ea598f0
-N/A-N/A-20131209161346884201




                                                                   FTC-000509
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 30 of 48 PageID 696



 Attachments
       Attachment E




                                                                  FTC-000510
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 31 of 48 PageID 697




                                                                  FTC-000511
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 32 of 48 PageID 698




                                                                  FTC-000512
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 33 of 48 PageID 699




                                                                  FTC-000513
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 34 of 48 PageID 700




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Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 35 of 48 PageID 701



 Attachments
       Attachment F




                                                                  FTC-000515
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 36 of 48 PageID 702




                                                                  FTC-000516
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 37 of 48 PageID 703




                        REDACTED


                                  REDACTED




                                                                  FTC-000517
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 38 of 48 PageID 704




                                                                  FTC-000518
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 39 of 48 PageID 705




                 REDACTED
                   REDACTED




                                                                  FTC-000519
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 40 of 48 PageID 706




                                                                  FTC-000520
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 41 of 48 PageID 707




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Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 42 of 48 PageID 708




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Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 43 of 48 PageID 709




                                                                  FTC-000523
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 44 of 48 PageID 710




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Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 45 of 48 PageID 711



 Attachments
       Attachment G




                                                                  FTC-000525
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 46 of 48 PageID 712




                             REDACTED




                                                                  FTC-000526
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 47 of 48 PageID 713




                                                                  FTC-000527
Case 8:15-cv-02231-MSS-CPT Document 6-7 Filed 09/24/15 Page 48 of 48 PageID 714




                       REDACTED
                                           REDACTED




                                                                  FTC-000528
